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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                    CASE #: 9:19-cv-80825-DMM

  JENNIFER QUASHA, on behalf of
  her son, H.Q., a minor,

         Plaintiff,

  vs.

  CITY OF PALM BEACH GARDENS,
  FLORIDA,

         Defendant.
                                             /

        DEFENDANT, CITY OF PALM BEACH GARDENS’, MOTION TO COMPEL
        DEPOSITION TESTIMONY AGAINST NON-PARTY, MICHAEL GALLUCI

         Defendant, CITY OF PALM BEACH GARDENS, by and through its undersigned

  counsel, pursuant to this Court’s Order Setting Discovery Procedure, moves for the entry of an

  Order compelling non-party, Michael Galluci, to provide deposition testimony, and states in

  support, as follows:

         1.      This is a claim brought by Jennifer Quasha, as parent of H.Q., a minor with an

  alleged peanut allergy, asserting that the City of Palm Beach Gardens discriminated against H.Q.

  by not banning the sale of peanuts at its little league baseball park.

         2.      The City of Palm Beach Gardens learned that H.Q. apparently does not require

  the level of protection from the presence of peanuts as Plaintiff contends. Indeed, H.Q.’s

  elementary school provides a nut-free table in the cafeteria which H.Q. and his mother have

  decided that he need not avail himself of. As far as Jennifer Quasha and the elementary school

  are concerned, H.Q. is safe from peanuts while sitting at an unrestricted table, even though one

  or more children may be seated at the table consuming foods that H.Q. is allergic to.
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         3.      On August 27, 2019, Plaintiff, Jennifer Quasha, freely responded to questions

  about her permission for H.Q. to sit at a regular table, instead of the nut-free table. See, Exhibit

  “A,” J. Quasha Depo., pp. 5-11. Plaintiff also testified about measures taken by H.Q.’s teacher,

  including inspection of other kids’ lunchboxes.

         4.      In an effort to conduct further discovery as to how H.Q.’s allergies affect his life

  and school day, if at all, and whether and to what extent any arrangements are made for him in

  the school cafeteria by his teacher, Defendant scheduled the deposition of teacher, Michael

  Gallucci. Mr. Gallucci appeared for his deposition testimony, but refused to testify as to any

  discussions he has had with H.Q.’s family, or of H.Q.’s school and cafeteria arrangements. He

  interestingly though did note that he is not even present with the children in the cafeteria, which

  appears to be at odds with Plaintiff’s testimony. See, Exhibit “B,” M. Galluci Depo., p.10.

         5.      Beyond the basic background information, Mr. Gallucci informed the parties that

  he would not give any testimony about H.Q.’s lunchroom arrangements, where he sits, why he

  sits at a table which is not nut-free, or any discussions on the topic he has had with Plaintiff. Id,

  p. 14. Notably, at the time of Gallucci’s refusal, Plaintiff, Jennifer Quasha, and her attorney

  were present in the room, and neither voiced any objection, whatsoever, to Gallucci responding

  to the questions of defense counsel. Gallucci’s justification for refusing to answer questions is

  that they potentially invaded protections afforded under “FERPA.”

         6.       As defense counsel informed Mr. Gallucci at the deposition, however, FERPA

  would not provide a justification for refusing to answer the questions being posed, particularly

  where the mother was present, and did not oppose Gallucci providing responses.

         7.      Local Rule Certification: At the deposition, Plaintiff’s counsel provided his

  position on the issue of Mr. Gallucci responding to the questions. He advised that the questions
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  being posed were part of the case, but that he was uncertain as to what Mr. Gallucci could

  answer without a School Board attorney present.

         Wherefore, Defendant, City of Palm Beach Gardens, moves for the entry of an Order

  compelling Michael Gallucci to return for a deposition, to respond to questions being posed

  about his conversations with Plaintiff, and the cafeteria arrangements for H.Q., and for attorney’s

  fees and costs incurred in connection with a second deposition.

                                    MEMORANDUM OF LAW

         The Family Educational Rights and Privacy Act (FERPA), 20 U.S.C.§1232g, 34 CFR

  Part 99, is a Federal law that protects the privacy of student education records. FERPA gives

  parents certain rights with respect to their children’s educational records. Generally, under the

  legislation, schools must have written permission from the parent in order to release any

  information about a student’s education record. One of the exceptions to releasing information

  from school education records is in order to comply with a lawfully issued subpoena. 33 CFR

  §99.31.

         In the instant case, the questions posed to Mr. Gallucci do not fall within the protections

  of the legislation. He was not asked to disclose any confidential information contained within

  an educational record (i.e. transcripts, grades, academic evaluations), but instead to recount

  conversations he had with the child’s mother, and to verify the lunchroom arrangements already

  freely testified to by the mother, Jennifer Quasha. Even if the questions encompassed protected

  information, the mother was present at the deposition with counsel, and had no objection,

  whatsoever, to Mr. Gallucci responding to defense questions. Finally, Mr. Gallucci was under

  subpoena to testify, which constitutes an exception to FERPA. See, Exhibit “C.”

         Defendant respectfully requests that Mr. Gallucci return for a deposition and that he be
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  compelled to respond to questions. Defendant further requests that this Court reserve on the

  issue of imposing fees and costs against the attorney or entity that ostensibly instructed Mr.

  Gallucci that he should not respond to questions at the first deposition pursuant to FERPA, which

  is believed to be either the Palm Beach County School Board (and/or its General Counsel’s

  office) or the Palm Beach County Classroom Teacher’s Association (and/or its General

  Counsel’s office).


                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 18th day of November, 2019, I electronically filed the
  foregoing document with the Clerk of Court by using the CM/ECF system or by email to all
  parties. I further certify that I either mailed the foregoing document and the Notice of Electronic
  Filing by first class mail to any non CM/ECF participants and/or the foregoing document was
  served via transmission of Notice of Electronic Filing generated by CM/ECF to any and all
  active CM/ECF participants. This motion has additionally been served by U.S. Mail upon
  Michael Gallucci, c/o Marsh Point Elementary, 12649 Ibiza Drive, Palm Beach Gardens, FL
  33418; Palm Beach County Schools, The School District of Palm Beach County, 3300 Forest
  Hill Blvd., C-124, West Palm Beach, FL 33406; and Palm Beach County Classroom Teachers
  Association, 715 Spencer Drive, West Palm Beach, FL 33409.

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                                               BY:      /s/Scott D. Alexander
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